Case 2:21-cv-09614-GW-SK Document 22 Filed 01/21/22 Page 1 of 3 Page ID #:82




  1
      STEPHEN M. LOBBIN
      sml@smlavvocati.com
  2   SML AVVOCATI P.C.
  3
      888 Prospect Street, Suite 200
      San Diego, California 92037
  4   (949) 636-1391 (Phone)
  5
      Attorney(s) for Display Technologies, LLC
  6

  7
                      IN THE UNITED STATES DISTRICT COURT
  8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9

 10
       DISPLAY TECHNOLOGIES, LLC,
                                                     CASE NO.: 2:21-cv-09614-GW-SK
 11                       Plaintiff,
                                                     PATENT CASE
 12    v.
 13
       I-SENS USA, INC.,
 14                                                  JOINT STIPULATION OF
                          Defendant.                 DISMISSAL
 15

 16
            Plaintiff Display Technologies, LLC and i-SENS USA, Inc. by their respective
 17
      undersigned counsel, hereby STIPULATE and AGREE as follows:
 18
            1.     All claims asserted by the Plaintiff in this Action are dismissed with
 19
      prejudice and all claims asserted by the Defendant in this Action are dismissed without
 20
      prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);
 21
            2.     Each party shall bear its own costs and attorneys’ fees with respect to the
 22
      matters dismissed hereby;
 23
            This Stipulation and Order shall finally resolve the Action between the parties.
 24

 25

 26

 27

 28

                                                  1
                                   JOINT STIPULATION OF DISMISSAL
Case 2:21-cv-09614-GW-SK Document 22 Filed 01/21/22 Page 2 of 3 Page ID #:83




  1   Dated: January 21, 2022             Respectfully submitted,
  2
                                          /s/Stephen M. Lobbin
  3                                       Stephen M. Lobbin
  4
                                          sml@smlavvocati.com
                                          SML AVVOCATI P.C.
  5                                       888 Prospect Street, Suite 200
  6                                       San Diego, California 92037
                                          (949) 636-1391 (Phone)
  7

  8                                       Attorney(s) for Plaintiff

  9                                       FISH & RICHARDSON P.C.
 10
                                          By: /s/Rodeen Talebi
 11
                                          Rodeen Talebi (CA SBN 320392)
 12                                       FISH & RICHARDSON P.C.
                                          633 West Fifth Street, 26th Floor
 13
                                          Los Angeles, CA 90071
 14                                       Telephone: (213) 533-4240
                                          Facsimile: (858) 678-5099
 15

 16                                       Neil J. McNabnay (Pro Hac Vice)
                                          mcnabnay@fr.com
 17
                                          Ricardo J. Bonilla (Pro Hac Vice)
 18                                       rbonilla@fr.com
                                          Aaron P. Pirouznia (Pro Hac Vice)
 19
                                          pirouznia@fr.com
 20                                       FISH & RICHARDSON P.C.
                                          1717 Main Street, Suite 5000
 21
                                          Dallas, TX 75201
 22                                       Telephone: (214) 747-5070
                                          Facsimile: (214) 747-2091
 23

 24                                       Attorney(s) for Defendant
 25

 26

 27

 28

                                               2
                                JOINT STIPULATION OF DISMISSAL
Case 2:21-cv-09614-GW-SK Document 22 Filed 01/21/22 Page 3 of 3 Page ID #:84




  1
                               CERTIFICATE OF SERVICE

  2          I hereby certify that on January 21, 2022, I electronically transmitted the
  3
      foregoing document using the CM/ECF system for filing, which will transmit the
      document electronically to all registered participants as identified on the Notice of
  4   Electronic Filing, and paper copies have been served on those indicated as non-
  5   registered participants.
                                            /s/Stephen M. Lobbin
  6                                         Stephen M. Lobbin
  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                                3
                                 JOINT STIPULATION OF DISMISSAL
